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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

  ___________________________________
                                            §
  In re                                     §       Chapter 7
                                            §
  ARTIUSID, INC.                            §       Case No. 23-11007
                                            §
              DEBTORS.                      §
  ___________________________________

                       NOTICE OF WITHDRAWAL OF APPEARANCE
                                 (Relates to ECF No. 75)

          PLEASE TAKE NOTICE that Reagan H. “Tres” Gibbs, III hereby withdraws his notice

  of appearance as counsel for creditor Collaborative Vision, Inc. (“Collaborative Vision”), as

  previously filed at ECF Doc. 75.



                                            Respectfully submitted,

                                            COKINOS | YOUNG

                                            By: /s/ Reagan H. “Tres” Gibbs, III
                                               CRAIG E. POWER
                                               State Bar No. 16210500
                                               cpower@cokinoslaw.com
                                               REAGAN H. “TRES” GIBBS, III
                                               State Bar No: 24083068
                                               tgibbs@cokinoslaw.com
                                               EMMA P. MYLES
                                               Texas Bar No: 24137075
                                               emyles@cokinoslaw.com
                                               1221 Lamar Street, 16th Floor
                                               Houston, Texas 77010-3039
                                               Tel.: (713) 535-5500
                                               Fax: (713) 535-5533




  NOTICE OF WITHDRAW                                                                     PAGE 1
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on August 22, 2024, a true and correct copy of the foregoing Notice
  of Appearance and Request for Service of Papers was served on all parties authorized to receive
  notice through the Court’s Electronic Filing system in this case.

                                                  /s/ Reagan H. “Tres” Gibbs, III
                                              REAGAN H. “TRES” GIBBS, III




  NOTICE OF WITHDRAW                                                                        PAGE 2
